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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION


UNITED STATES OF AMERICA                            3:23-cr-00061-MO

              v.                                    INFORMATION

KELLEY RAY KAIGHIN aka                              21 U.S.C. § 841(a)(1), (b)(1)(A)
KELLY RAY KAIGHIN,                                  18 U.S.C. § 924(c)
                                                    18 U.S.C. § 922(g)(1)
              Defendant.
                                                    Forfeiture Allegations



                     THE UNITED STATES ATTORNEY CHARGES:

                                         COUNT 1
                        Possession with Intent to Distribute Fentanyl
                            (21 U.S.C. § 841(a)(1), (b)(1)(A)(vi))

       On or about January 18, 2023, in the District of Oregon, defendant KELLEY RAY

KAIGHIN aka KELLY RAY KAIGHIN, did unlawfully and knowingly possess with intent to

distribute a mixture or substance containing over 400 grams of a detectable amount of N-phenyl-

N-[1-(2-phenylethyl)-4-piperidinyl] propanamide (fentanyl), a Schedule II controlled substance;

       In violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(A)(vi).

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                                          COUNT 2
                          Possession with Intent to Distribute Heroin
                              (21 U.S.C. § 841(a)(1), (b)(1)(A)(i))

       On or about January 18, 2023, in the District of Oregon, defendant KELLEY RAY

KAIGHIN aka KELLY RAY KAIGHIN, did unlawfully and knowingly possess with intent to

distribute a mixture or substance containing over one kilogram or more containing a detectable

amount of heroin, a Schedule I controlled substance;

       In violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(A)(i).

                                         COUNT 3
             Possession of Firearm in Furtherance of a Drug Trafficking Crime
                                 (18 U.S.C. § 924(c)(1)(A)(i))

       On or about January 18, 2023, in the District of Oregon, defendant KELLEY RAY

KAIGHIN aka KELLY RAY KAIGHIN, in furtherance of a drug trafficking crime for which

he may be prosecuted in a court of the United States, that is, Possession with the Intent to

Distribute Controlled Substances, in violation of Title 21, United States Code, Sections

841(a)(1), as set forth in Counts 1 and 2 of this indictment, did knowingly possess a firearm, to

wit: a Mauser 9mm handgun, serial number 742308; a Springfield XDM handgun, serial number

MG755152;

       In violation of Title 18, United States Code, Section 924(c)(1)(A)(i).

                                           COUNT 4
                               (Felon in Possession of a Firearm)
                                     (18 U.S.C. § 922(g)(1))

       On or about July 8, 2022, in the District of Oregon, defendant KELLEY RAY

KAIGHIN aka KELLY RAY KAIGHIN, knowing he had been previously convicted of a

crime punishable by imprisonment for a term exceeding one year, specifically:
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       (1) Assault in the Second Degree, in Marion County Circuit Court, Case Number

            86C20372, on or about June 28, 1988;

       (2) Assault in the Fourth Degree, in Marion County Circuit Court, Case Number

            98C54518, on or about February 8, 1999;

did knowingly and unlawfully possess the following firearms:

   (1) a Mauser 9mm handgun, serial number 742308;

   (2) a Springfield XDM handgun, serial number MG755152;


   which firearm(s) had previously been shipped or transported in interstate or foreign

commerce;

   In violation of Title 18, United States Code, Section 922(g)(1).

                            FIRST FORFEITURE ALLEGATION

       Upon conviction of any offense in Counts 1 and 2, defendant, KELLEY RAY

KAIGHIN aka KELLY RAY KAIGHIN, shall forfeit to the United States, pursuant to 21

U.S.C. § 853, any property constituting, or derived from, proceeds obtained, directly or

indirectly, as a result of the aforesaid violations and any property used, or intended to be used, in

any manner or part, to commit, or to facilitate the commission of said violations.

                           SECOND FORFEITURE ALLEGATION

       Upon conviction of one or more of the offenses in Counts 3 and 4, defendant, KELLEY

RAY KAIGHIN aka KELLY RAY KAIGHIN, shall forfeit to the United States pursuant to 18

U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the firearms and ammunition involved in those

offense(s), including without limitation:



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   (1) a Mauser 9mm handgun, serial number 742308;

   (2) a Springfield XDM handgun, serial number MG755152;



Dated: March 2, 2023                           Respectfully submitted,

                                               NATALIE K. WIGHT
                                               United States Attorney


                                               /s/ Lewis S. Burkhart                    _
                                               LEWIS S. BURKHART, OSB #082781
                                               Assistant United States Attorney




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